




NO. 07-08-0106-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL C



MARCH 28, 2008



______________________________





In re JOHANSON LEE WATSON,



Relator &nbsp;

_________________________________



Opinion on Original Proceeding for Writ of Mandamus

_______________________________

Before QUINN, C.J., and HANCOCK and PIRTLE, JJ.

Johanson Lee Watson, an indigent inmate, seeks a writ of mandamus to compel the trial court to rule on his application for writ of habeas corpus. &nbsp;Through the purported application for habeas corpus, he attempts to nullify his prior felony conviction. &nbsp;For the reason expressed below, we dismiss for want of jurisdiction.

The Court of Criminal Appeals has exclusive jurisdiction over post-conviction writs of habeas corpus in felony cases. &nbsp;
See
 
id.; Board of Pardons and Paroles ex. rel. Keene v. Court of Appeals for the Eighth Dist
., 910 S.W.2d 481, 483 (Tex. Crim. App.1995); 
In re Briscoe, 
230 S.W.3d 196, 196 (Tex. App.–Houston [14
th
 Dist.] 2006) (original proceeding) (stating that courts of appeal have no jurisdiction over post-conviction writs of habeas corpus in felony cases). &nbsp;So, to complain about any action, or inaction, of the convicting court, the applicant may seek mandamus relief from the Court of Criminal Appeals. &nbsp;
See In re Briscoe, 
230 S.W.3d at 196
. 	

Accordingly, the petition for writ of mandamus is dismissed for want of jurisdiction.

 

Per Curiam







 












